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                        IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF KANSAS


STEVEN WAYNE FISH, et al.,

                                    Plaintiffs,
                                                               CIVIL ACTION
v.
                                                               No. 16-2105-JAR
KRIS KOBACH, KANSAS SECRETARY
OF STATE,

                                  Defendant,




                                           JUDGMENT

       This action came before the Court. The issues have been considered and decisions

have been rendered.

       The Court has ordered that pursuant to the Memorandum and Order filed and entered on

August 29, 2016 (Doc. 211), Defendant Nick Jordan is dismissed; pursuant to the Memorandum and

Order filed and entered on May 4, 2017 (Doc. 334), summary judgment is granted in favor of

Defendant Kris Kobach on Plaintiffs’ 42 U.S.C. § 1983 right to travel claim; pursuant to the

Memorandum and Order filed and entered on January 3, 2018 (Doc. 421), summary judgment is

granted in favor of Defendant Kris Kobach on Counts 4 and 6.

       Pursuant to the Court’s Findings of Fact and Conclusions of Law, filed and entered on June

18, 2018, the remaining claim asserted by Plaintiff Steven Wayne Fish is dismissed as moot.

Judgment is entered in favor of the remaining Plaintiffs on Count 1.

       IT IS SO ORDERED.
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Dated: June 18, 2018

                                   s/ Bonnie Wiest
                                   By Deputy Clerk
                                   TIMOTHY M. O’BRIEN
                                   Clerk of the District Court
